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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION
800 K Street N.W., Suite 1000
Washington, D.C. 20001,
                                                     Case No. 1:25-cv-00935 (PLF)
                        Plaintiff,
            v.

DONALD J. TRUMP,
President of the United States
1600 Pennsylvania Avenue N.W.
Washington, D.C. 20500, et al.,

                        Defendants.
_______________________________________________


        PLAINTIFF NTEU’S OPPOSITION TO DEFENDANTS’
         CROSS-MOTION FOR SUMMARY JUDGMENT AND
   REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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                                  INTRODUCTION

      The government portrays Plaintiff National Treasury Employees Union

(NTEU) as seeking judicial review of legitimate and nuanced national security

exemptions from the Federal Service Labor-Management Relations Statute (the

Statute). These exemptions, the government argues, are just like the ones that

Presidents since Jimmy Carter have made. But that is not remotely the case—and

the Executive Order and accompanying White House Fact Sheet show it.

      The President’s sweeping use of the Statute’s national security exemption to

strip the collective-bargaining rights of most of the federal employees who had

them, including about two-thirds of NTEU’s workers, was not based on a national

security calculus. The Fact Sheet makes clear that the President will treat unions

who seek “constructive partnerships” with him differently than those who

“obstruct[]” his agenda. As this Court observed, the President has “issued an

Executive Order which targets” “those that have sued him, those that have filed

grievances, those that have complained against him.” 1 This nakedly retaliatory use

of the Statute’s exemption opens the door to judicial review and ultimately to

rulings against the government.

      The same legal analysis that led the Court to conclude that NTEU’s claims

are likely to succeed on the merits should lead to a conclusion that summary

judgment is merited here. The government cannot rebut that sound analysis or

walk back its earlier concessions that the President’s national security exemptions


1 Transcript of Motion for Preliminary Injunction Hearing (Apr. 23, 2025) (Tr. of PI

Hr’g) at 35 (“I mean, how else can you read what he’s done?”).
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are judicially reviewable, at least in certain circumstances. And the government

does not allege that there are any material facts in dispute. 2

      There is no limiting principle to the government’s position in this case. In its

view, the President could exempt every agency from the Statute using the national

security exemption. Those exemptions, the government believes, would be

unreviewable because it is within the President’s discretion to render the Statute a

nullity through its narrow exemption. It is irrelevant, according to the government,

if the President uses that exemption explicitly and strictly to retaliate against

perceived political enemies.

      This Court should reject the government’s position, perform the judicial

branch’s function of ensuring that the political branches stay within the bounds of

their legal authority, and conclude that the President’s unprecedented use of the

national security exemption to punish unions for mounting legal challenges to his

actions is unlawful.




2 The parties agree that there is no material fact in dispute. Yet the government
objects to nearly every fact that NTEU asserts, including objections to direct quotes
and citations to the Executive Order, OPM Guidance, and Fact Sheet at issue. See,
e.g., Table: Defendants’ Responses to Plaintiff’s Statement of Material Facts Not in
Dispute (Table), Nos. 2, 3, 5, 7–15. The government’s objections fail to comport with
Local Rule 7(h)(l) and Fed. R. Civ. P. 56(c). Its two hundred-plus objections merely
(1) refer the Court to certain documents or laws in their entirety (see, e.g., Table
Nos. 15–21, 23–29), or (2) otherwise identify no specific evidence of record
demonstrating a real conflict as to facts (see, e.g., Table Nos. 43–46 (government
vaguely objecting to the use of direct quotes from a record of its own website by
providing links to the same website), 126 (asserting “lack [of] sufficient knowledge
to form a belief”), 174, 177, 181, 186, 192 (government supporting its factual
objections solely with citations to its own previous factual objections)).


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                                      ARGUMENT

   I.        The Executive Order’s Sweeping and Politically Motivated
             Exemptions, Individually and Collectively, Are Ultra Vires
             (Counts 1 and 2).

             A.      NTEU’s Ultra Vires Claims Are Judicially Reviewable, as the
                     Government Previously Conceded, and the Government’s
                     Own Statements Rebut the Presumption of Regularity.

        1.        The government’s arguments that this Court may not assess whether

the President’s extraordinary use of the national security exemption exceeds his

statutory authority fall flat. See Defendants’ Cross Motion for Summary Judgment

and Opposition to Plaintiff’s Motion for Summary Judgment (June 23, 2025) (Gov’t

Opp.) at 14–16. “The Congress can and often does cabin the discretion it grants the

President, and it remains the responsibility of the judiciary to ensure that the

President acts within those limits.” Am. Forest Res. Council v. United States,

77 F.4th 787, 797 (D.C. Cir. 2023). In other words, “the responsibility of

determining the limits of statutory grants of authority . . . is a judicial function

entrusted to the courts by Congress.” Chamber of Com. v. Reich, 74 F.3d 1322, 1327

(D.C. Cir. 1996) (quoting Stark v. Wickard, 321 U.S. 288, 310 (1944)).

        Even where a statute grants “very broad discretion” to the President, “Courts

remain obligated to determine whether [those] statutory restrictions have been

violated.” Mt. States Legal Found. v. Bush, 306 F.3d 1132, 1136–37 (D.C. Cir. 2002).

That is true even in the context of national security. See Holder v. Humanitarian

Law Project, 561 U.S. 1, 34 (2010) (“Our precedents, old and new, make clear that

concerns of national security and foreign relations do not warrant abdication of the

judicial role.”); Ctr. for Biological Diversity v. Mattis, 868 F.3d 803, 827 (9th Cir.


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2017) (“When confronting a statutory question touching on . . . national security . . .

a court does not adequately discharge its duty by pointing to the broad authority of

the President and Congress and vacating the field without considered analysis.”).

      Otherwise, Congress’s statutory restrictions would be outside the boundaries

of enforcement and thus meaningless. That would be incompatible with the federal

courts’ “virtually unflagging obligation . . . to exercise the jurisdiction given them.”

Colo. River Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976).

Accord Cohens v. Virginia, 19 U.S. (6 Wheat.) 264, 404 (1821) (Marshall, C.J.).

      2.     Here, Circuit precedent establishes—and the government does not

contest—that this Court may review national security exemptions that are “plainly

beyond the bounds” of the Statute; reflect a “gross violation of the [S]tatute”; or

present a “constitutional” question. See Defendants’ Opposition to Plaintiff’s Motion

for Preliminary Injunction (Apr. 11, 2025) (Govt PI Opp.) at 18 & n.7 (citing cases);

Tr. of PI Hr’g at 27 (government concession that under the D.C. Circuit’s decision in

“AFGE versus Reagan . . . the exception identified [allowing for judicial review of

national security exemptions] includes constitutional cases and gross violations of

the statute”). Those are precisely the types of claims that NTEU presents here.

      Consistent with this Circuit precedent, this Court previously held that, in

this unique circumstance, the White House’s own words and actions defeated the

presumption of regularity and allowed for judicial review of NTEU’s ultra vires

claims. See NTEU v. Trump, No. 25-0935, 2025 U.S. Dist. LEXIS 80268, at *18–33

(D.D.C. Apr. 28, 2025). This Court found “clear evidence that ‘the President was




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indifferent to the purposes and requirements of the [Statute], or acted deliberately

in contravention of them.’” Id. at *23 (quoting AFGE v. Reagan, 870 F.2d 723, 728

(D.C. Cir. 1989)).

      The President’s message through the Executive Order and its accompanying

Fact Sheet is straightforward: The Statute’s national security exemption is being

used to punish unions that challenge the President’s policy initiatives and to make

federal employees easier to fire. Id. at *31. The exemptions are not a reflection of

national security considerations; instead, according to the White House, they turn

on whether the President considers a union to be a “constructive partner[]” or to be

engaging in “mass obstruction” against his agenda. See id. at *30.

      This Court thus found “clear evidence” that the President’s sweeping use of

that narrow national security exemption was “retaliatory” and aimed to “punish

unions for the ‘war’ they have ‘declared [] on President Trump’s agenda”; served to

facilitate “unrelated policy objectives” like making federal employees easier to fire;

and “bear no relation to the [statutory] criteria” for the national security exemption.

Id. at *28, *30, *33. The evidence likewise clearly showed that the President’s

exemptions were based on “a disagreement with Congress’s decision to extend

collective bargaining rights to the federal workforce broadly, rather than a

determination that such rights cannot be applied in a ‘manner consistent with

national security requirements and considerations.’” Id. at *26 (quoting 5 U.S.C.

§ 7103(b)(1)(B)).




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      A failure to exercise judicial review over national security exemptions that

the President admits are not national security driven would render Congress’s

limitations in Section 7103(b)(1) meaningless. And it would pave the way for the

destruction of the Statute in its entirety. If congressional intent matters at all, the

government’s arguments against judicial review must fail.

          B.     The Executive Order’s Sweeping Exclusions Are Ultra Vires.

      The bar for asserting an ultra vires claim is not so insurmountable as the

government makes it out to be. See Gov’t Opp. at 13; see also New Mexico v. Musk,

No. 25-cv-429, 2025 U.S. Dist. LEXIS 100076, at *55 (D.D.C. May 27, 2025) (noting

that ultra vires review “is not as rigid as Defendants suggest”). The ultra vires

standard “subsumes review” of various kinds of executive actions exceeding

statutory authority. Nat’l Ass’n of Postal Supervisors v. U.S. Postal Serv., 26 F.4th

960, 971 (D.C. Cir. 2022). The Executive Order challenged here is ultra vires under

the standards set forth in the most on-point precedent.

      The D.C. Circuit’s leading case on determining whether an executive order is

ultra vires is Chamber of Commerce v. Reich, 74 F.3d at 1326–39. There, the Court

held that an executive order that the president had broad discretion to issue under

the Procurement Act was ultra vires because it conflicted with a separate statute,

the National Labor Relations Act (NLRA). Id. at 1324. The D.C. Circuit later

confirmed that a president also acts ultra vires if he exceeds the bounds of the very

statute authorizing him to act. Mt. States Legal Found., 306 F.3d at 1136. “Courts

remain obligated to determine whether statutory restrictions have been violated,”




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the court reasoned, whether those restrictions come from the authorizing statute or

an independent one. Id.

      Contrary to the government’s characterization of the ultra vires standard, the

court in Reich found it “untenable to conclude that there are no judicially

enforceable limitations on presidential actions, besides actions that . . . contravene

direct statutory prohibitions.” 74 F.3d at 1332. Far from defying a direct statutory

prohibition, the executive order in Reich conflicted with an implicit right in the

NLRA and a judicially created doctrine of preemption from regulating such rights.

Id. at 1332–39.

      Reich is not a one-off in finding ultra vires action without a direct or extreme

violation. For example, the D.C. Circuit held that a Control Board given wide-

ranging powers over the District of Columbia’s budget and operations acted ultra

vires when it ordered a reduction-in-force at the University of the District of

Columbia that disregarded provisions of the collective-bargaining agreement with

the faculty. Univ. of D.C. Faculty Ass’n v. D.C. Fin. Responsibility & Mgmt.

Assistance Auth., 163 F.3d 616, 619–22 (D.C. Cir. 1998). The Court rejected the

argument that the Control Board “ha[d] the authority to do anything that [was] not

expressly prohibited” by statute. Id. at 621.

      The D.C. Circuit rejected an overly narrow interpretation of the ultra vires

standard more recently in Postal Supervisors, 26 F.4th at 971. The Court held that

language in the Postal Act beginning with “[i]t shall be the policy of the Postal

Service,” despite affording broad discretion to the agency, “place[d] clear limits” on




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that discretion and formed the basis for an ultra vires claim. Id. at 970–71. The

Court clarified that the standard for ultra vires action allows for enforcement of

“discernible” limits on executive discretion, as opposed to “vague” or “ambiguous”

ones. Id. at 972.

      The criteria in Section 7103(b)(1) cabin the President’s authority to exclude

agencies from the Statute with precisely the kind of “discernible standards” that the

D.C. Circuit has found enforceable through ultra vires review. Postal Supervisors,

26 F.4th at 972. And as NTEU has shown, the Executive Order’s sweeping

exclusions far exceed those standards, naming agencies with barely a nexus to, let

alone a “primary function” of, national security. See Memorandum in Support of

Plaintiff NTEU’s Motion for Summary Judgment (June 9, 2025) (NTEU Mot.) at

12–18. Even if ultra vires review captures only extreme or obvious violations, the

Executive Order here fits the bill.

      The government ignores Reich and other applicable precedent and instead

relies mostly on AFSA v. Trump, No. 25-5184, 2025 U.S. App. LEXIS 15297

(D.C. Cir. June 20, 2025) (per curiam), and NRC v. Texas, Nos. 23-1300 & 23-1312,

2025 U.S. LEXIS 2378 (2025). But Reich and other published D.C. Circuit opinions

on the merits should carry more weight than AFSA, an unsigned, per curiam

opinion by a motions panel that itself did not distinguish or even address Reich.

NRC, moreover, involves very different circumstances and has no application here.

In NRC, the Supreme Court rejected attempts to assert an ultra vires claim as a

means of appealing an NRC licensing decision directly to a court of appeals by




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entities who were not even parties to the licensing proceeding. NRC, 2025 U.S.

LEXIS 2378, at *20–22. NTEU did not attempt to raise its claims in a court of

appeals in the first instance—that admittedly would be a true “Hail Mary pass.” See

NRC, 2025 U.S. LEXIS 2378, at *22. Rather, NTEU followed the established

blueprint in Reich in challenging in this Court an extraordinary and sweeping

executive order as ultra vires.

                 1.    There Is Clear Evidence that the President’s National
                       Security Exemptions Were Based on Considerations
                       Outside of the Statutory Criteria.

      The government does not meaningfully contest that the President did not

base the Executive Order’s exemptions on Section 7103(b)(1)’s narrow criteria for

national security exemptions. Nor could it. The White House has confessed that the

President’s exemptions were aimed, instead, at punishing unions that have

challenged his agenda and making federal employees easier to fire. See NTEU Mot.

at 8–9 (quoting this Court’s detailed factual findings regarding the same). For that

reason alone, those exemptions are ultra vires.

      a.     Far from challenging that the President failed to stay within the

bounds of Congress’s narrow criteria for national security exemptions, the

government doubles down on the President’s general policy objections to the

existence of federal-sector unions. See Gov’t Opp. at 23–25 (making generalized

arguments about collective bargaining and the ability of unions to challenge

removals through grievances). Those incorrect policy arguments against Congress’s

decision to codify collective bargaining in the federal sector cannot justify the

President’s national security exemptions of the agencies at issue here. Instead, they


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show that the President has exceeded his narrow statutory authority to exclude

agencies or agency components based on the narrow criteria that Congress

established in Section 7103(b)(1).

      The government cannot refute what the Fact Sheet and OPM Guidance show:

that the President’s national security exemptions were “in furtherance of unrelated

policy goals rather than based on the statutory criteria.” NTEU, 2025 U.S. Dist.

LEXIS 80268, *30–31 (noting that “substantial evidence in the record” supports this

conclusion). Under the guise of national security, the government mimics the

President’s policy concerns about federal-sector unions, parroting his view that

unions make it harder to fire federal employees (Gov’t Opp. at 24–25) and that

Congress’s statutory bargaining process and the statutorily required grievance-

arbitration process (see 5 U.S.C. § 7121(a)(1)) hinder agency operations (Gov’t Opp.

at 25).3 This is not an appropriate Section 7103(b)(1) analysis—i.e., one tailored to

Congress’s narrow statutory criteria. It instead takes issue with Congress’s decision

to codify collective bargaining in the federal sector.

      The government is wrong, in any event, that unions “impose[] significant

delays” when agencies attempt to implement changes to conditions of employment,

in a way that hinders government operations. Gov’t Opp. at 24. The D.C. Circuit



3 There is no limit to the government’s argument that “[t]he President properly

determined that the CBAs, as a clear impediment to separating underperforming
employees, are inconsistent with national security considerations.” Gov’t Opp. at 25.
If this rationale is sufficient for an Executive Order eliminating collective-
bargaining rights for the bulk of unionized federal workers, nothing would prevent
it from being used to eliminate those rights for the rest of the federal workforce
down the road.


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has underscored that “the scope of bargaining under [the Statute] is extraordinarily

narrow.” NTEU v. Chertoff, 452 F.3d 839, 860 (D.C. Cir. 2006). “[T]he restricted

scope of bargaining under [the Statute] gives federal agencies great ‘flexibility’ in

collective bargaining.” Id. at 861. The Statute, moreover, grants agencies wide

latitude to act promptly in exigent situations and often allows bargaining to occur

after an agency implements a change to working conditions. 4

      b.     Critically, the Executive Order and the accompanying White House

Fact Sheet show that hurting unions was not just a bonus of the President’s

national security determinations: It was a driving factor in the analysis of which

agencies or agency components to exclude from the Statute. The White House Fact

Sheet distinguishes between “[c]ertain Federal unions [that] have declared war on

President Trump’s agenda” and “unions who work with him.” Plaintiff’s Statement

of Material Facts Not in Dispute (Facts) ¶ 15 (quoting Fact Sheet: President Donald

J. Trump Exempts Agencies with National Security Missions from Federal Collective

Bargaining Requirements (Mar. 27, 2025), https://perma.cc/26AL-73TZ (Fact

Sheet)).

      Those in the first category, like NTEU, were severely hurt through the

Executive Order’s exclusions. But the Administration protected unions with

“constructive partnerships” with the President. See id. The Executive Order, at



4 See 5 U.S.C. § 7106 (granting agencies the right “to take whatever actions may be

necessary to carry out the agency mission during emergencies”); DHS, ICE,
70 F.L.R.A. 628, 630 (2018) (finding that agencies may bargain after implementing
changes to conditions of employment if changes made pursuant to a law or
government-wide regulation).


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Section 2, provides that “agency police officers, security guards, and firefighters”

will not be exempted from the Statute—that is, unless they work for the Bureau of

Prisons (see id. ¶ 5), which is represented by a large federal-sector union that the

President has likewise targeted. NTEU, 2025 U.S. Dist. LEXIS 80268, at *29–30.

No “searching inquiry into [] the President’s justifications” is needed here. Gov’t

Opp. at 15.

                 2.    The Excluded Agencies and Subdivisions Do Not
                       Plausibly Have a Primary Function of National
                       Security Work.

      As this Court previously concluded, “the President applied an overly broad

interpretation of the term ‘primary function’ or wrote the term out of the statute

entirely” and likewise “applied an overly broad interpretation of ‘national security’

when invoking Section 7103(b)(1), thereby making the President’s Executive Order

ultra vires.” NTEU, 2025 U.S. Dist. LEXIS 80268, at *39, *45.

      a.      Primary Function. The government fails to meaningfully contest

that, in the absence of a definition of “a primary function” in the Statute, the

dictionary meaning of those words should govern. See NTEU Mot. at 11 (citing

Delligatti v. United States, 145 S. Ct. 797, 810 (2025)). With respect to “primary,”

even with the modifier “a,” this Court should interpret this term as “first in order of

time” or “of first rank, importance, or value.” Id. (citing Merriam Webster definition

of “primary”).

      That is precisely how the Ninth Circuit has interpreted the phrase “a

primary,” as it appears in a different statute. City of Ketchikan v. Cape Fox Corp.,

85 F.3d 1381, 1383–84 (9th Cir. 1996). While the government complains that City of


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Ketchikan involves a different statutory context (Gov’t Opp. at 27 n.12), it cannot

dispute that Court’s dictionary-based rationale, which applies equally here: “To

read the statute otherwise would change the meaning of ‘primary’ to merely

‘significant.’” See 85 F.3d at 1383–84.

      And even if this Court prefers not to restrict the government to a single

“primary function” here, the government cannot “read[] ‘primary’ entirely out of the

text” and simply point to “any function that an agency at issue performs.” NTEU,

2025 U.S. Dist. LEXIS 80268, at *39; see Gov’t Opp. at 16–17 n.9, 27–28 (arguing

that agencies have several “primary” functions); see also id. at 17–23 (making

arguments related to several “primary” functions for the relevant agencies).

      The government’s own publications show the primary functions of the

excluded agencies and subdivisions; NTEU relies on those agency websites, and so

does the government. See NTEU Mot. at 13–16; Gov’t Opp. at 17–23. The

government’s suggestion that NTEU’s primary-function analysis is based on less

persuasive evidence (see Gov’t Opp. at 17) should thus fail. And the agencies’ official

statements on their public websites about their functions (which are generally

drawn from their statutory missions) should be given more weight than the

declarations by individual agency employees—one human resources staffer apiece

for the Departments of Treasury, Interior, Health and Human Services, Justice, and

Energy, for example—that the government also relies on. See Gov’t Opp., Exs. 3–9.

The post-hoc, litigation-driven declaration of a single agency employee should have

little persuasive value when compared to the agency’s earlier public statements. Cf.




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FTC v. Whole Foods Mkt., Inc., 502 F. Supp. 2d 1, 4 n.4 (D.D.C. 2007) (citing United

States v. Gypsum Co., 333 U.S. 364, 396 (1948)), rev’d and remanded on other

grounds, 533 F.3d 869 (D.C. Cir. 2008).

      b.     National Security Work. The government fails to mount any real

defense to the Court’s use of the Supreme Court’s definition of “national security” in

Cole v. Young, 351 U.S. 536, 544 (1956), in the absence of a definition of “national

security” or “national security work” in the Statute. Compare Gov’t Opp. at 29 (“the

Executive Order is consistent with the Cole definition”), with NTEU, 2025 U.S. Dist.

LEXIS 80268, at *41–45 (explaining at length why Cole’s definition of “national

security” and its reasoning applies here) and NTEU Mot. at 11–12 (same).

      In Cole, the Supreme Court held that the statutory context—federal-worker

protections—called for a “narrow meaning” of “national security” that included “only

those activities of the Government that are directly concerned with the protection of

the Nation from internal subversion or foreign aggression, and not those which

contribute to the strength of the Nation only through their impact on the general

welfare.” 351 U.S. at 544. Including the latter category (which the government

urged), the Court cautioned, would result in “an exception to the general personnel

laws” being “utilized effectively to supersede those laws.” Id. at 547.

      That type of risk, this Court explained, is present here too:

      President Trump . . . has applied a startlingly broad application of
      “national security,” which—directly contrary to the Supreme Court’s
      definition in Cole v. Young—encompasses “those activities of
      Government . . . which contribute to the strength of the Nation only
      through their impact on the general welfare.” Cole v. Young, 351 U.S. at
      544. This interpretation of “national security” therefore is inconsistent
      with the statute and “risks allowing the exception to swallow the rule,


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      thereby undermining the purpose of the statute itself.” Nat’l Fed’n of
      Fed. Emps. v. McDonald, 128 F. Supp. 3d 159, 172 (D.D.C. 2015). “[I]f
      Congress intended the term to have such a broad meaning that all
      positions in the Government could be said to be affected with the
      ‘national security,’ the result would be that the [FSLMRS], though in
      form but an exception to the general personnel laws, could be utilized
      effectively to supersede those laws.” Cole v. Young, 351 U.S. at 548.

NTEU, 2025 U.S. Dist. LEXIS 80268, at *44–45.

      This Court should reaffirm Cole’s application here. Regardless, the

administrative decision that the government relies on for its interpretation of

“national security work,” Dep’t of Energy, Oak Ridge Operations, 4 F.L.R.A. 644,

655–56 (1980) (see Gov’t Opp. at 29), is “significantly less supportive of the

government’s position than it may think.” NTEU, 2025 U.S. Dist. LEXIS 80268, at

*40. There, the Federal Labor Relations Authority “cautioned against applying an

overly broad interpretation of ‘national security’” and “ma[de] clear that the

Supreme Court’s decision in Cole v. Young, 351 U.S. 536 (1956), provided guidance

on the interpretation of ‘national security’ in Section 7103(b)(1).” NTEU, 2025 U.S.

Dist. LEXIS 80268, at *41.

      c.     Treasury Subdivisions. As a final threshold matter, the government

does not contest NTEU’s argument that because the Executive Order exempts

various subdivisions of Treasury, as opposed to the agency in its entirety, those

subdivisions must likewise be the focus of the statutory analysis. See NTEU Mot. at

10–11 n.2. Yet the government fails to raise any arguments that five of the

Treasury subdivisions at issue have a primary function of national security work:

the IRS Office of Chief Counsel, BFS, OCC, TTB, and Treasury’s departmental

offices. See, e.g., Gov’t Opp. at 17–23 (addressing other exempted agencies and


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subdivisions). The government has therefore waived its opportunity to provide a

statutory defense for the President’s exemption of those subdivisions. See Twin

Rivers Paper Co. v. SEC, 934 F.3d 607, 615 (D.C. Cir. 2019) (explaining “that

arguments generally are forfeited if raised for the first time in reply”).

      The Executive Order does not exempt the entirety of Treasury because it

leaves the Bureau of Engraving and Printing within the Statute’s coverage. Exec.

Order No. 14,251 § 2. Before the D.C. Circuit, the government acknowledged that,

as the plain text of the Executive Order shows, the President excluded

“subdivisions” of Treasury only—and not the whole agency. See Emergency Motion

for an Immediate Administrative Stay and Stay Pending Appeal at 5, NTEU v.

Trump, et al., No. 25-5157 (D.C. Cir. Apr. 30, 2025) (Gov’t Stay Mot.) (The

designated agencies include, inter alia, [four entire agencies] and subdivisions of the

Departments of Treasury[.]”) (emphasis added). The government thus cannot rely on

the broad mission of the Department as a whole to justify those subdivisions’

exclusion. See Gov’t Opp. at 17–18. The plain text of Section 7103(b)(1) requires that

the statutory criteria be applied to each “subdivision” when the President elects to

exempt only a “subdivision,” as he did in this instance.

      The government assessed the functions of each exempted “subdivision” of the

Department of Health and Human Services, for example, instead of relying on the

agency’s mission as a whole. See Gov’t Opp. at 20–21. And it addressed the

functions of one of Treasury’s excluded subdivisions, the IRS. See Gov’t Opp. at 18.




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But the government failed to address the other five Treasury subdivisions at issue

and has thus conceded its exemption argument for each of them.

      d.     Where the government does raise arguments concerning an excluded

agency or subdivision, it offers no plausible arguments that “the agency or

subdivision has as a primary function . . . national security work.” 5 U.S.C.

§ 7103(b)(1). And, as discussed above, the government’s reliance on a declaration of

a single human resources staffer to show the “primary function” of a particular

agency should not be credited over better evidence, such as the agency’s official

statements regarding its functions on its public website.

      In earlier proceedings before this Court, showcasing its overbroad

interpretation of “national security work,” the government argued that the IRS’s

collection of taxes for the Civil War merited its exemption from the Statute over 150

years later. See Gov’t PI Opp. at 21. Notably, the government now fails to make any

argument at all that the IRS itself does national security work. See Gov’t Opp. at

18. It instead relies on Treasury’s broad mission—and the missions of two specific

Treasury subdivisions not at issue here—for that argument. Gov’t Opp. at 17–18.

That is the wrong focus for an exclusion of an agency subdivision like the IRS (as

explained above). And the government’s only IRS-specific argument, which is that

IRS’s tax-auditing functions are “investigative” work, fails for the reasons discussed

on pp. 19–22 below.

      For the other excluded agencies and subdivisions that the government

addresses:




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        The government’s approach is essentially pointing to a specific function
        that a particular agency or subdivision performs, and then arguing that
        the instance of “national security work” means the entire agency’s or its
        subdivision’s “primary function” is “national security work.” But even if
        an agency performs some work that implicates national security, that
        does not mean that the entire agency has “a primary function” of
        “national security work.”

NTEU, 2025 U.S. Dist. LEXIS 80268, at *38–39 (addressing virtually the same

arguments that the government makes here for Treasury, IRS, DOE, FDA, and

BLM).

        The government argues, for example, that because a few DOJ components,

such as its National Security Division, “have long been exempted under 5 U.S.C.

§ 7103(b)(1),” that is enough to justify the President’s exclusion of the entire agency.

Gov’t Opp. at 22. For BLM, which serves primarily to sustain public lands (NTEU

Mot. at 15–16), the government seizes upon its oversight of mineral development

and energy production on those lands, which it ties to national security. Gov’t Opp.

at 19. The government struggles to find any nexus to (let alone primary function of)

national security work for EPA, straining with references to electric car production

and the nation’s interest in clean water and air. Id. at 22–23. And the government’s

arguments regarding the relevant HHS subdivisions, FCC, and DOE (see Gov’t

Opp. 19–21, 23) fare no better for the same reason that the Court noted in its earlier

decision. NTEU, 2025 U.S. Dist. LEXIS 80268, at *38–39.

        e.    In perhaps an implicit acceptance that its arguments that the

exempted agencies and subdivisions here have a “primary function” of “national

security work” are implausible, the government has been pivoting away from that




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argument and relying on another term in Section 7103(b)(1): “investigative.” See

Gov’t Opp. at 18, 20–22 (arguing that the IRS, EPA, DOJ, and FDA have a primary

function of investigative work, as that term is used in Section 7103(b)(1)). As this

Court has explained, that effort fails.

      First, Section 7103(b)(1)’s national security-focused context is vital to

interpreting “investigative,” and it shows that the government is interpreting the

term far too expansively. That incorrect interpretation dooms its arguments related

to the IRS, EPA, DOJ, and FDA.

      Section 7103(b)(1)’s first criterion speaks to whether an agency or subdivision

has a “primary function [of] intelligence, counterintelligence, investigative, or

national security work.” Read within the context of the statutory provision,

“investigative” does not mean any form of investigation, as the government argues.

See Gov’t Opp. at 17. “Investigative” is sandwiched between “intelligence,

counterintelligence” and “national security” in Section 7103(b)(1). That is vital to

the statutory construction because intelligence and counterintelligence work plainly

relate to our national security—but the same is not true of all “investigative” work,

if that term is given its usual definition. So, giving “investigative” its ordinary

definition (“to observe or study,” according to Merriam-Webster), would not make

sense here. Investigate, Merriam Webster, https://www.merriam-

webster.com/dictionary/investigative (last visited July 1, 2025).

      Bolstering that conclusion is Section 7103(b)(1)’s second criterion, which

informs the interpretation of the initial, “primary function” criterion. Section




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7103(b)(1)’s second criterion is limited to the compatibility of coverage under the

Statute with “national security requirements or considerations.” Section 7103(b)(1)’s

narrow, national security focus thus confirms that “‘investigative’ work likely

should be interpreted as having a national security valence in light of Section

7103(b)(1) as a whole.” See NTEU, 2025 U.S. Dist. LEXIS 80268, at *36 n.4.5

      The larger statutory context likewise lends itself to a narrow, national

security-focused interpretation of “investigative.” There is no dispute that Congress

intended for the Statute to promote collective bargaining. See 5 U.S.C. § 7101(a).

Nor is there any dispute that Congress intended to take control over federal-sector

labor relations away from the President through its codification. Tr. of PI Hr’g at

49–50 (“[P]laintiff’s counsel mentioned that Congress enacted the [S]tatute in order

to take away power from the President. That certainly is true.”). This broader

statutory context confirms that “investigative” should be interpreted narrowly.

Otherwise, every agency that does any type of fact-finding or analysis would fall

into this category. Such an overbroad interpretation would defeat the Statute’s

purpose.




5 This Court’s analysis mirrors the Supreme Court’s application of the basic rule of

statutory construction that “a word is known by the company it keeps.” Jarecki v. G.
D. Searle & Co., 367 U.S. 303, 307 (1961) (narrowly interpreting “discovery,” given
the statutory context). This rule is “often wisely applied where a word is capable of
many meanings in order to avoid the giving of unintended breadth to the Acts of
Congress.” Id. (“The application of the maxim here leads to the conclusion that
‘discovery’ in § 456 means only the discovery of mineral resources.”).


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       Second, the President’s exemptions explicitly rely on a conclusion that the

exempted agencies and subdivisions are doing “national security work.” And so do

the government’s arguments to this Court defending those exemptions.

       The government must defend the President’s stated basis for his national

security exemptions; it cannot simply change it. The White House Fact Sheet on the

Executive Order, issued the same night as the Order, is the most authoritative

document on the basis for the President’s exemptions. That document makes plain

that the President’s exemptions are based on a conclusion that the excluded

agencies have a primary function of “national security work” as opposed to

“investigative” work. The very first sentence of the Fact Sheet explains that the

President’s exemptions “end collective bargaining” at the specified “agencies with

national security missions.” Fact Sheet. These agencies, the White House

underscores, have “national security responsibilities” and are “vital to national

security.” Id. These exemptions, according to the Fact Sheet, “protect our national

security.” Id.

       These references to national security missions and responsibilities clearly

articulate the President’s “national security work” basis for his exemptions. The

Fact Sheet does not contain a single reference to “investigative” work. So the

government’s obligation here is to defend the President’s basis and not to create its

own. That takes its “investigative” work rationale for the various exempted agencies

off the map.




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      And even if the government could pivot to a new rationale for purposes of this

litigation, its arguments related to judicial review and on the merits depend on the

conclusion that the exempted agencies are doing “national security work.” See

NTEU, 2025 U.S. Dist. LEXIS 80268, at *36 n.4 (noting the government’s

arguments that the Court “lacks authority to review the President’s national

security determination” and that the exempted agencies have “national security

mission[s]”); see also Gov’t Opp. at 16 (discussing the “lack of competence on the

part of the courts” on national security matters and characterizing the President’s

exemptions as “national security-based finding[s]”). “The government’s success

therefore depends on the validity of its interpretation of work implicating ‘national

security.’” NTEU, 2025 U.S. Dist. LEXIS 80268, at *36 n.4.

                 3.    The Government Raises No Credible Argument that
                       Collective Bargaining at the Excluded Agencies and
                       Subdivisions Cannot Continue in a Manner Consistent
                       with National Security Considerations.

      The government fails to provide any real analysis of Section 7103(b)(1)’s

second criterion: that the Statute cannot be applied to the agency “in a manner

consistent with national security requirements and considerations.” 5 U.S.C.

§ 7103(b)(1)(B). It says nothing at all in response to the fact that the agencies that

the Executive Order targets have fallen within the Statute’s coverage, in many

cases, for several decades. See NTEU Mot. at 13–16. It does not matter to the

government that Presidents did not pull these agencies—or any entire Cabinet-level

agency—out of the Statute’s coverage during any military conflict since the Statute

was enacted, not even after the September 11, 2001, attacks that fundamentally



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altered our country’s national security regime. Nor does it matter to the government

that this President did not exempt any of these agencies or subdivisions in his first

term, even though the agencies’ primary functions remain the same. The

government thus ignores that “the longstanding practice of the government . . . can

inform a court’s determination of what the law is.” Loper Bright Enters. v.

Raimondo, 603 U.S. 369, 386 (2024) (cleaned up).

      Instead of engaging with Section 7103(b)(1)’s second criterion, the

government complains about the very existence of collective bargaining in the

federal sector, arguing that it improperly impedes federal agencies. See Gov’t Opp.

at 23–25. But the government’s “disagreement with Congress’s decision to extend

collective bargaining rights to the federal workforce broadly,” is an insufficient

analysis of Congress’s statutory criterion. See NTEU, 2025 U.S. Dist. LEXIS 80268,

at *26; see also In re Aiken Cnty., 725 F.3d 255, 259 (D.C. Cir. 2013) (Kavanaugh, J.)

(“[T]he President may not decline to follow a statutory mandate . . . simply because

of policy objections.”). And Congress itself provides the direct rebuttal to the

government’s policy objections with its finding that unions “contribute[] to the

effective conduct of public business.” 5 U.S.C. § 7101(a)(1)(B).

                 4.    The Executive Order’s Exemptions, Collectively, Are
                       Ultra Vires.

      The government has no real response to this Court’s preliminary conclusion

that the Executive Order’s sweeping exclusions, collectively, exceed the President’s

authority and are ultra vires. Compare Gov’t Opp. at 30–31 (offering only that

NTEU “improperly prioritizes Congress’s stated finding that ‘labor organizations



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and collective bargaining in the civil service are in the public interest’”), with

NTEU, 2025 U.S. Dist. LEXIS 80268, at *25–27, *33–45 (concluding that claim is

likely to succeed) and NTEU Mot. at 16–18 (arguing exemptions collectively are

ultra vires).

         The Executive Order’s attempt to largely nullify the Statute through its

narrow national security exemption conflicts with Congress’s intent in enacting the

Statute. Congress passed the Statute to codify federal labor relations and to

safeguard it from the whims of any President; to promote collective bargaining; and

to strengthen federal labor unions. See 5 U.S.C. § 7101(a); see also Bureau of

Alcohol, Tobacco & Firearms v. FLRA, 464 U.S. 89, 107 (1983); NTEU Mot. at 16–

18. Particularly critical here is that Congress intended to create a “statutory

Federal labor-management program which cannot be universally altered by any

President.” 124 Cong. Rec. H9637 (daily ed. Sept. 13, 1978) (statement of Rep.

Clay).

         The President’s use of the Statute’s narrow national security exemption to

undo the bulk of the Statute’s coverage is plainly at odds with Congress’s explicit

intent. The Executive Order’s far-reaching use of the Statute’s narrow national

security exemption is unprecedented. The Executive Order exempts nearly one-half

of all Cabinet-level agencies from the Statute. See Exec. Order No. 14,251 § 2.6 It




6 This is highly relevant context for the unprecedented breadth of the Executive

Order. NTEU is not arguing, though, that the President may not exempt an entire
agency from the Statute (if the statutory criteria were satisfied), as the government
suggests. See Gov’t Opp. at 29–30.


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excludes some two-thirds of the federal workforce and three-fourths of workers who

are currently represented by unions from the Statute. Facts ¶ 4. That includes

about two-thirds of all NTEU-represented workers across the government. Facts

¶ 115.

         The Executive Order’s exemptions collectively reflect “disagreement with

Congress’s decision to extend collective bargaining rights to the federal workforce

broadly,” instead of an analysis of Section 7103(b)(1)’s criteria. NTEU, 2025 U.S.

Dist. LEXIS 80268, at *26. They are ultra vires for this reason alone.

   II.      The Executive Order Is First Amendment Retaliation, as the
            White House Fact Sheet Effectively Concedes (Count 3).

         The Executive Order is not only ultra vires, but it is also textbook retaliation

against NTEU for its litigation against the Administration. The Executive Order is

therefore unlawful under the First Amendment.

         For its First Amendment retaliation claim, NTEU has shown (1) that it

“engaged in conduct protected under the First Amendment”; (2) that the

government “took some retaliatory action sufficient to deter a person of ordinary

firmness in [NTEU’s] position from speaking again”; and (3) “a causal link between

the exercise of a constitutional right and the adverse action taken.” Aref v. Lynch,

833 F.3d 242, 258 (D.C. Cir. 2016) (quoting Banks v. York, 515 F. Supp. 2d 89, 111

(D.D.C. 2007)).

         The government does not contest that NTEU has engaged in protected

activity or that the Executive Order punished the union. Instead, the government

argues that: (1) the Executive Order is lawful, “consistent with [the President’s]



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statutory authority,” and thus cannot be retaliatory (Gov’t Opp. at 34); (2) NTEU

has not been deterred from speaking out against the Administration (Gov’t Opp. at

33); and (3) the Executive Order was based on the President’s “policy priorities” and

not a retaliatory motive (Gov’t Opp. at 34). Each argument fails.

      First, the Executive Order is unlawful, as discussed in the preceding section.

And no presumption of regularity is owed to the President’s national security

determinations here, given the Administration’s explicit statements about the

improper reasons for the Executive Order’s exclusions. See Section I.A, supra.

Moreover, even if the Executive Order did not exceed the President’s statutory

authority, NTEU would still prevail on its First Amendment claim. The Supreme

Court has held that even if there is a lawful basis for a defendant’s conduct, that

conduct can still be improper First Amendment retaliation. In Lozman v. City of

Riviera Beach, 585 U.S. 87 (2018), the Court held that the plaintiff could still

pursue his claim that his arrest was improper First Amendment retaliation even

though there was probable cause for the arrest. Id. at 97–101; see also AFGE v.

Trump, 2025 U.S. Dist. LEXIS 120042 at *40–41. (N.D. Cal. June 24, 2025)

(enjoining this Executive Order and finding that even an otherwise lawful Order

may constitute unlawful First Amendment retaliation).

      Second, Defendants are wrong that, because NTEU has stated that it will

continue to engage in protected activity, no actionable First Amendment retaliation

occurred when the Executive Order cut off over half of NTEU’s revenue and over

two-thirds of the workers that it represents. NTEU does not need to be conclusively




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bullied into stopping its First Amendment activity to show that the government

“took some retaliatory action sufficient to deter a person of ordinary firmness in

[NTEU’s] position from speaking again.” Aref, 833 F.3d at 258. For example, a court

in this Circuit held that a media company’s persistence in publishing stories related

to the social media platform X after defendant’s allegedly retaliatory criminal

investigation of the company “does not mean Plaintiffs’ expression has not been

sufficiently chilled.” Media Matters for Am. v. Bailey, No. 24-cv-147, 2024 U.S. Dist.

LEXIS 151291, at *34 (D.D.C. Aug. 23, 2024). Similarly, another court in this

Circuit held that a law firm that proceeded with litigation against the

Administration while other law firms capitulated showed that defendant’s

“retaliatory action” was more than “sufficient to deter a person of ordinary firmness

. . . from speaking again.” Wilmer Cutler Pickering Hale & Dorr LLP v. Exec. Off. of

the President, No. 25-cv-917, 2025 U.S. Dist. LEXIS 100078, at *47 (D.D.C. May 27,

2025).

         Here, the deterrent effect of the President’s retaliatory action is particularly

obvious given the “power that [he] wields.” Nat’l Rifle Ass’n of Am. v. Vullo, 602 U.S.

175, 191 (2024). “[T]he greater and more direct the government official’s authority,

the less likely a person will feel free to disregard a directive from the official.” Id. at

191–92. The coercive effect wielded by the President of the United States is at its

apex here.7



7 The government argues that Section 7 of the Executive Order, which directs

agencies to recommend additional exclusions from the Statute to the President,
could not have a deterrent effect because the deadline for those recommendations


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      If the government’s circular argument is accepted, no First Amendment claim

could ever succeed because (according to the government’s logic), the mere fact that

a plaintiff has brought a First Amendment lawsuit would “prove” that they were not

deterred from engaging in protected activity. Imposing that type of requirement not

only would deter First Amendment activity, but it also is flatly irreconcilable with

many successful First Amendment retaliation suits. See, e.g., WilmerHale,

2025 U.S. Dist. LEXIS 100078, at *43 (enjoining Administration action against law

firm on First Amendment grounds).

      Third, Defendants cannot credibly argue that the heavily gerrymandered

Executive Order is not based on the retaliatory motive that the Administration’s

own issuances describe—and that the Administration’s lawsuit against NTEU

mimics—and is instead based on general policy views regarding national security

and “the efficiency and efficacy of the federal workforce.” Gov’t Opp. at 32.

      The White House’s “public statements are direct evidence of retaliatory

intent.” Media Matters, 2024 U.S. Dist. LEXIS 151291 at *41 (finding causation

prong of First Amendment retaliation claim satisfied where public official publicly

called for investigation of plaintiff media company). The White House Fact Sheet

acknowledges that the Executive Order is the result of “[c]ertain Federal unions []




has passed and “no new exclusions have been made.” See Gov’t Opp. at 33. That
argument ignores what Section 7 directs: recommendations. The government does
not argue that agency heads disregarded the President’s direction and failed to
recommend additional exclusions. It is unsurprising that the President has not yet
pulled the trigger on those recommendations, given the fluidity of the litigation
surrounding this Executive Order.


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declar[ing] war on President Trump’s agenda.” Facts ¶ 15. The government has

likewise conceded to this Court that the fact “that federal unions have declared war

on President Trump’s agenda . . . [is] actually part of the President’s reasoning” for

the Executive Order’s exemptions. Tr. of PI Hr’g at 38.

      It is uncontested that NTEU is one of the federal unions to which the Fact

Sheet refers. NTEU has filed lawsuits challenging several of this Administration’s

high-profile policy objectives, from its mass firings of employees to its attempt to

dismantle the Consumer Financial Protection Bureau. See NTEU Mot. at 20–21; see

also NTEU, 2025 U.S. Dist. LEXIS 80268, at *28 (“[T]hese statements in the Fact

Sheet appear to be in direct response to the number of lawsuits and grievances

NTEU has filed against the Trump Administration in the last several months.”).

      Coupled with the White House Fact Sheet’s language about unions, the

government’s targeting of NTEU through its aggressive and unusual lawsuit in the

Eastern District of Kentucky further shows the causal connection. See generally

Compl., Dep’t of Treasury v. NTEU Ch. 73, No. 25-cv-49 (E.D. Ky. Mar. 28, 2025).8

That preemptive lawsuit was filed against a local NTEU chapter only hours after

the Executive Order issued. It mimics the Fact Sheet’s language, referring to NTEU

as a “hostile union.” Id. ¶ 30. And it was filed in an atypical forum, given that it




8
 On May 20, the lawsuit was dismissed for lack of standing. Dep’t of Treasury v.
NTEU Ch. 73, No. 25-cv-49, 2025 U.S. Dist. LEXIS 95533 (E.D. Ky. May 20, 2025).
The government has not indicated if it will appeal that ruling.



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centered on a national-level collective-bargaining agreement between two parties

headquartered in Washington, D.C.

      The complaint sought to void NTEU’s collective-bargaining agreement with

the IRS, which is NTEU’s largest bargaining unit (see Facts ¶ 34). The government,

in other words, picked the target that would hurt NTEU the most. The government

offers no explanation—much less a plausible, non-retaliatory explanation—for why

it targeted NTEU’s largest bargaining unit or why it filed such an unusual

preemptive suit in such an unusual forum.

      The Kentucky lawsuit thus confirms that the Executive Order seeks to

punish NTEU. And its filing is consistent with the White House Fact Sheet on the

Executive Order, which makes clear that unions like NTEU that are “hostile” to the

President will be hurt, while those unions “who work with him” will not. See Facts

¶¶ 14–15. The Executive Order further demonstrates this with the Administration’s

affirmative statement that it will not exempt “agency police officers, security

guards, or firefighters” from the Statute—unless they work for the Bureau of

Prisons, which is represented by another federal-sector union that the President

has likewise targeted. See Section 1.B.1.b, supra.

      These same facts also defeat the government’s argument that NTEU cannot

prevail unless the union’s constitutionally protected activity is the “but for” cause of

the defendant’s retaliatory action. Gov’t Opp. at 34. As a threshold matter, the

government wrongly states that it is NTEU that must “establish[]” that “Plaintiff’s

protected conduct was the but for cause of the President’s action.” See Gov’t Opp. at




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33. It is the government’s burden on the but-for test. See Mt. Healthy City Sch. Dist.

Bd. of Educ. v. Doyle, 429 U.S. 274, 287 (1977) (defendant school board must show

“that it would have reached the same decision as to respondent . . . even in the

absence of the protected conduct”); Clark v. Library of Congress, 750 F.2d 89, 101

(D.C. Cir. 1984) (defendant-employer has the burden of showing that the plaintiff’s

protected conduct was not the “but for” cause of the employer’s adverse hiring

decision).

      And the government cannot carry its burden on the but-for test. As explained

above, its own Fact Sheet, its preemptive lawsuit against NTEU in Kentucky, and

the Executive Order’s blatant gerrymandering of which agencies to include and

which to exclude preclude the government from showing that the Executive Order

would not have issued but for the improper motivation.

      The government’s claimed national security concerns do not change this

analysis. The Supreme Court has held that “concerns of national security and

foreign relations do not warrant abdication of the judicial role. We do not defer to

the Government’s reading of the First Amendment[.]” Holder, 561 U.S. at 34; see

also United States v. Robel, 389 U.S. 258, 264 (1967) (“Implicit in the term ‘national

defense’ is the notion of defending those values and ideals which set this Nation

apart,” and “the most cherished of those ideals have found expression in the First

Amendment.”); AFGE, 2025 U.S. Dist. LEXIS 120042, at *38 (enjoining the same

Executive Order challenged here on First Amendment grounds notwithstanding the

deference owed to the executive branch on national security matters).




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         In sum, the Executive Order is unlawful retaliation against NTEU’s

protected First Amendment activity and should be enjoined on that basis alone.

      III.    Because the Executive Order Cuts Off Access to the Statute’s
              Administrative Channels, the Government’s Channeling
              Argument Fails.

         The government argues that the district court lacked subject-matter

jurisdiction over NTEU’s claims because they must be brought through the

Statute’s administrative channels. Govt’ Opp. at 8–12. That argument fails for

several reasons. The most obvious is that the Executive Order has taken away the

administrative channels that the government argues must be used.

         A.     This Court correctly concluded that, consistent with this Court’s

precedent, NTEU’s claims could not be channeled because the Executive Order

takes that channel away. “The administrative review scheme . . . is not available . . .

for the simple reason that those agencies and subdivisions have been excluded from

the [Statute’s] coverage by the very Executive Order at issue here.” NTEU,

2025 U.S. Dist. LEXIS 80268, at *13. Another federal district court evaluating this

Executive Order has reached the same conclusion, explicitly agreeing with this

Court’s earlier channeling analysis. AFGE, 2025 U.S. Dist. LEXIS 120042, at *28–

32.

         Defendant Office of Personnel Management (OPM) has conceded that a

“union no longer has standing to file [an unfair labor practice] charge” against an

excluded agency or agency subdivision because that agency or agency subdivision

“is no longer subject to provisions of the [Statute].” Facts ¶ 20. Similarly, OPM has

conceded that an arbitration hearing under a negotiated grievance-arbitration


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process against an excluded agency or agency subdivision cannot go forward

because “the union is no longer the exclusive representative and there is no

jurisdiction before the arbitrator.” Id. ¶ 24.

      The Federal Labor Relations Authority (the Authority) has held that it lacks

jurisdiction in just these circumstances. See AFGE Local 987, 66 F.L.R.A. 589, 598

(2012) (dismissing claim against Air Force Office of Special Investigations for lack of

jurisdiction because it was exempted from the Statute); AFGE, Local 3966,

57 F.L.R.A. 750 (2002) (“[S]ince [an] Executive Order exempts United States

Attorneys’ Offices from coverage of the Statute, the Authority lacks jurisdiction to

decide the cases.”). A charge against an excluded agency would thus be dismissed

for lack of jurisdiction—and that dismissal would not be subject to judicial review.

Turgeon v. FLRA, 677 F.2d 937, 938–39 (D.C. Cir. 1982) (holding that a dismissal of

an unfair labor practice charge is not appealable to a federal court of appeals).

      This Circuit’s precedent shows that federal district-court jurisdiction exists

for claims over which the Authority lacks jurisdiction. In AFGE, Local 446 v.

Nicholson, the D.C. Circuit unanimously held that the district court had jurisdiction

because the challenged action was “expressly outside the FLRA’s purview” and the

union was “presumptively entitled to judicial review of its claim.” 475 F.3d 341, 348

(D.C. Cir. 2007). The same is true here, where the Executive Order takes the agency




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defendants “outside the FLRA’s purview” (id.), as the government conceded in its

litigation against NTEU in the Eastern District of Kentucky over the Order. 9

         Because NTEU has no administrative options left as to the excluded

agencies, AFGE v. Trump is inapposite. 929 F.3d 748, 754 (D.C. Cir. 2019); see

NTEU, 2025 U.S. Dist. LEXIS 80268, at *15–16 (discussing decision). In AFGE v.

Trump, the unions had “several ‘administrative options’” available to them for

challenging the executive orders at issue. See 929 F.3d at 757. Here, the Executive

Order categorically removed any union claims relating to the agencies at issue from

the administrative scheme.

         B.    This Court should not embrace the government’s position that a

federal district court has jurisdiction to declare the Executive Order lawful, as it

asked the Eastern District of Kentucky to do, but that a federal district court lacks

jurisdiction to determine that the Executive Order is unlawful, as it argues to this

Court.10 Those views are irreconcilable. See AFGE, 2025 U.S. Dist. LEXIS 120042,

at *31 (noting, in that case, that the government has likewise “taken an

inconsistent position with respect to jurisdiction” after suing “over a dozen unions in

the Western District of Texas” for a declaratory judgment that the Executive Order

is lawful).




9 Motion for Summary Judgment at 20, Dep’t of Treasury v. NTEU Ch. 73, No. 2:25-
cv-49 (E.D. Ky. Apr. 18, 2025).

10 Complaint, Dep’t of Treasury v. NTEU Ch. 73, No. 2:25-cv-49 (E.D. Ky. Mar. 28,

2025).


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      The government has tried to explain its inconsistent positions by arguing to

the Eastern District of Kentucky that the Department of Treasury “is not subject to

Chapter 71 after the President’s Executive Order” and therefore has no channel

through which to proceed for its claim. 11 But the same is true here: because the

agency defendants are “not subject to Chapter 71 after the President’s Executive

Order,” they are outside the Statute’s administrative processes. So those agencies

cannot institute an Authority proceeding against NTEU, and NTEU cannot initiate

an Authority proceeding against them.

      To try to distinguish its position in Kentucky, the government has argued

that NTEU’s theory that the Executive Order is unlawful has jurisdictional

implications. Gov’t Stay Mot. at 12 (“Plaintiff’s own theory dictates that the FLRA

was the exclusive venue for this suit.”). But a federal district court’s jurisdiction

does not depend on what side of an issue the plaintiff takes, as another district

court evaluating this Executive Order has explained. See AFGE, 2025 U.S. Dist.

LEXIS 120042, at *31 (“The question of the Court’s jurisdiction is not answered by

the plaintiffs’ or defendants’ beliefs about the merits of the case.”). NTEU fully

grasps that the Executive Order cut off access to the Statute for nearly a dozen of

its agencies; a legal claim that the Executive Order is unlawful does not restore the

administrative channels that the Executive Order has cut off.




11 Motion for Summary Judgment at 20, Dep’t of Treasury v. NTEU Ch. 73,

No. 2:25-cv-49 (E.D. Ky. Apr. 18, 2025).


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      C.     Additionally, this Circuit’s precedent instructs that where a party

would suffer “independent harm caused by the delay” associated with channeling,

“full relief” cannot not be obtained through the administrative scheme and district

court jurisdiction is thus merited. Jarkesy v. SEC, 803 F.3d 9, 27–28 (D.C. Cir.

2015). That would apply here, given the threat to NTEU’s existence.

      The Executive Order strips the collective-bargaining rights of “65.9% of all

NTEU-represented employees, or approximately 104,278 employees.” NTEU,

2025 U.S. Dist. LEXIS 80268 at *47. Even if NTEU had a path through the

administrative process to federal court review of its claims—which it does not, as

explained above—NTEU would suffer harm during the process of channeling those

claims against each excluded agency or agency subdivision that could not be

remedied after the fact.

      NTEU’s bargaining power and influence would be impaired in a way that

could not be remediated. Agencies will continue to ignore NTEU—to refuse to

bargain or engage with it—all while federal workers are under unprecedented

attack. See Facts ¶¶ 130–204. That includes the impending large-scale reductions-

in-force. Id. at ¶¶ 12, 132. The one-dozen NTEU-represented agencies that that

Executive Order targets will continue not to discuss those reductions-in-force with

NTEU or honor the reduction-in-force procedures in their collective-bargaining

agreements. Id. NTEU will not get these chances to advocate for and to protect its

workers back: “there is a substantial possibility that only a small fraction of its once




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large union w[ill] remain upon prevailing in this litigation.” NTEU, 2025 U.S. Dist.

LEXIS 80268, at *48.

         Agencies exempted through the Executive Order will also continue to refuse

to process dues payments to federal-sector unions via the payroll-deduction process

that Congress created in 5 U.S.C. § 7115(a). Since agencies rushed to begin

implementing the Executive Order, NTEU has been losing over one million dollars

per pay period. Facts ¶ 126. That is over half of its revenue. Facts ¶ 119. As this

Court understood, those losses urgently threaten NTEU’s very existence. NTEU,

2025 U.S. Dist. LEXIS 80268, at *52. If NTEU fails to survive in its current form in

the near term, later federal court review would not remedy that harm. Federal

district court review is merited for that reason alone. Jarkesy, 803 F.3d at 27–28.

   IV.      The Government’s Sovereign Immunity Arguments Repackage Its
            Channeling Arguments and Arguments Against Ultra Vires
            Review, All of Which Fail.

         The government argues that sovereign immunity bars NTEU’s claims for the

first time in its summary judgment papers, after failing to raise the argument in its

preliminary injunction papers, at the preliminary injunction hearing, in its motion

for a stay in the D.C. Circuit, or in its response to NTEU’s petition for rehearing of

the stay en banc. When the government made the same argument in Reich, the

court called it “breathtakingly broad,” and the government did “not seriously press”

it at oral argument. Reich, 74 F.3d at 1329. The argument is similarly not to be

taken seriously here. The law is clear that sovereign immunity poses no bar to

NTEU’s claims that the Executive Order is ultra vires.




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      The D.C. Circuit has long held that “a claim alleging that the President acted

in excess of his statutory authority is judicially reviewable even absent an

applicable statutory review provision.” Am. Forest Council, 77 F.4th at 796 (citing

Reich, 74 F.3d at 1326–28). “The APA’s waiver of sovereign immunity applies to any

suit [for declaratory or injunctive relief against a federal agency or officer] whether

under the APA or not.” Reich, 74 F.3d at 1328; see also 5 U.S.C. § 702 (waiving

sovereign immunity against any suit for “relief other than money damages and

stating a claim that an agency or officer or thereof acted or failed to act . . . under

color of legal authority”). And more fundamentally, “if the officer, against whom

injunctive relief is sought, allegedly acted in excess of his legal authority, sovereign

immunity does not bar a suit” because ultra vires actions “are considered individual

and not sovereign actions.” Reich, 74 F.3d at 1329 (quoting Larson v. Domestic &

For. Com. Corp., 337 U.S. 682, 689 (1949)). In other words, “there is no sovereign

immunity to waive--it never attached in the first place.” Reich, 74 F.3d at 1329.

      Despite these settled principles, the government repackages its channeling

arguments and arguments against ultra vires review as implicating sovereign

immunity. These arguments all fail. For example, the government argues that “the

proper forum for Plaintiff’s claims is the FLRA.” Gov’t Opp. at 13. As demonstrated

in Section III above, however, the challenged Executive Order cuts off access to the

FLRA’s review scheme. The government also contends that “ultra vires review is not

available when the challenged action was taken pursuant to delegated powers and

not contrary to any specific statutory prohibition.” Gov’t Opp. at 13. But as




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discussed in Section I above, the Court is empowered to determine whether the

President exceeded the limits that Congress placed on his delegated powers, as the

President has done here.

   V.      NTEU’s Request for Relief Is Narrowly Tailored to the
           Government’s Implementation of the Unlawful Executive Order.

        Contrary to the government’s arguments, NTEU’s proposed injunctive relief

is consistent with binding authority, serves the public interest, and is narrowly

tailored to its claims. Because the Court’s consideration of permanent injunctive

relief necessarily requires NTEU’s “actual success on the merits,” NTEU easily

satisfies the first of the four requirements for a permanent injunction, along with

the remaining factors. See Doe v. Mattis, 889 F.3d 745, 751 (D.C. Cir. 2018) (cleaned

up) (explaining that factors for a permanent injunction are the same as for a

preliminary one, except that the requesting party must show actual success on the

merits). The government’s arguments to the contrary must fail.

        NTEU has properly requested that the Court enjoin the Defendant agencies

from implementing the Executive Order. It is “well established that ‘review of the

legality of Presidential action can ordinarily be obtained in a suit seeking to enjoin

the officers who attempt to enforce the President’s directive.’” Reich, 74 F.3d at 1328

(quoting Justice Scalia’s concurrence in Franklin v. Massachusetts, 505 U.S. 788,

828 (1992)). That is exactly what NTEU has done here. The government thus

misses the point in arguing that NTEU has not satisfied the first injunction factor

because its “claims solely focus on the President’s actions, not Defendant agencies.”

See Gov’t Opp. at 36. And as explained above, the government’s assertion that “the



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FLRA process is available” to challenge the Defendant agencies’ actions is wrong.

Compare Gov’t Opp. at 36 with Section III, supra.

      Defendants also suggest injunctive relief is not warranted unless there is

“some cognizable danger of recurrent violation[.]” Gov’t Opp. at 36. This argument

ignores the voluminous, unrebutted evidence in the record demonstrating

Defendant agencies’ continued noncompliance with their statutory and contractual

obligations. See Facts ¶¶ 130–204; Plaintiff’s Supplemental Statement of Material

Facts Not in Genuine Dispute ¶¶ 2–15, 20; Section III.C, supra; Kaspar Supp. Decl.,

Ex. 6 (HHS email stating that, because of the Executive Order, the Statute “no

longer applies to the components of the Department of Health and Human Services

within the Office of the Secretary” and noting that “management will discontinue

communications with NTEU in its capacity as a labor representative”). 12




12 A divided motions panel found that NTEU is not suffering any harm because “the

Government directed agencies to refrain from terminating collective bargaining
agreements . . . until after the litigation concludes.” See Order at 2, NTEU v.
Trump, No. 25-5157 (D.C. Cir. May 16, 2025) (Stay Panel Order) (citing April 8,
2025 Frequently Asked Questions (FAQs)). That finding was wrong and
unsupported by the record. See NTEU Mot. at 24–25; Facts ¶¶ 130–204. But even
that panel noted that NTEU could proceed “if a specific agency or subagency
deviates from that self-imposed rule” and does not comply with its CBA. See Stay
Panel Order at 2 n.3. And this Court noted the same. Memorandum Opinion and
Order at 7 (May 20, 2025). NTEU has submitted undisputed evidence that agencies
are not adhering to the FAQs’ suggestion about following CBAs. See Facts ¶¶ 130–
204. The government does not claim (much less submit declaratory support for)
anything to the contrary. Indeed, the government is now affirmatively arguing to a
different federal court that agencies, including Treasury, HHS, and DOJ, are
complying with the Executive Order, so much so that it would cost them time and
manpower if they had to unwind that compliance and re-engage with unions. See
Defendants’ Emergency Motion to Stay the Preliminary Injunction Pending Appeal
at 6, AFGE, v. Trump, No. 3:25-cv-03070 (N.D. Cal. July 1, 2025).


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      The government further misses the point in arguing that a permanent

injunction is not in the public interest and would not properly balance the equities

in this case. See Gov’t Opp. at 36–37. In enacting the Statute, Congress determined

that federal-sector collective-bargaining rights “safeguard[] the public interest.”

5 U.S.C. § 7101(a). On the flip side, the government’s implementation and

enforcement of an illegal executive order cannot serve the public interest. As the

D.C. Circuit has recognized, “[t]here is generally no public interest in the

perpetuation of unlawful agency action. To the contrary, there is a substantial

public interest in having governmental agencies abide by the federal laws that

govern their existence and operations.” League of Women Voters of the U.S. v.

Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (cleaned up).

      At bottom, the government’s “public interest” argument is merely a

repackaged merits argument. See Gov’t Opp. at 36–37. While the government

invokes the balance-of-the-equities and public-interest injunction factors, the

substance of the argument goes to the merits of NTEU’s claims, not the appropriate

remedy in this case. See id. at 37 (arguing that the “President’s determination

regarding the public interest in [the national security] sphere is entitled to

deference”). The Court should ignore the government’s attempt to take a second bite

of the merits apple as part of its argument on the proper remedy.

      Finally, there is no dispute that “relief should be limited to the parties here.”

Gov’t Opp. at 37. NTEU’s proposal asks for a declaratory judgment that Section 2 of

the Executive Order, along with OPM’s March 27 Guidance, is “unlawful as applied




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to the Defendants who are heads of NTEU-represented agencies.” See [Proposed]

Order Regarding Plaintiff NTEU’s Motion for Summary Judgment at 1 (emphasis

added). The Proposed Order further requests that the Defendants in this case, other

than President Trump, be “enjoined from implementing” Section 2 of the Executive

Order and OPM’s March 27 Guidance. Id. at 2. To avoid any ambiguity, NTEU is

submitting a revised proposed order that makes clear that any relief would be

limited to NTEU. NTEU’s requested relief is thus in accord with the government’s

position (see Gov’t Opp. at 37–38) and the Supreme Court’s decision in Trump v.

CASA, Inc., __ S. Ct. __, 2025 U.S. LEXIS 2501 (Jun. 27, 2025).

                                  CONCLUSION

      For the foregoing reasons and those stated in its motion and memorandum in

support, Plaintiff NTEU requests that this Court grant its motion for summary

judgment, deny the government’s cross-motion for summary judgment, and issue

the relief set out in NTEU’s revised proposed order.




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